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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION

                                   CASE NO.: 6:19-cv-01484-CEM-LRH

LOGAN BACHSTEIN, an individual,

         Plaintiff,
                                                            DEFENDANT’S AGREED MOTION TO
v.                                                          POSTPONE CASE MANAGEMENT
                                                            CONFERENCE OR, IN THE
DISCORD, INC., a for-profit corporation,                    ALTERNATIVE, FOR LEAVE TO
                                                            TELEPHONICALLY APPEAR AT CASE
         Defendant.                                         MANAGEMENT CONFERENCE AND
                                                            INCORPORATED MEMORANDUM OF
                                                            LAW1

         Defendant Discord, Inc. (“Discord”), through undersigned counsel, and pursuant to Rules

16(b)(2) and 26(f)(1) of the Federal Rules of Civil Procedure and this Court’s inherent authority

to control its docket, respectfully requests this Court to postpone the case management

conference and corresponding case management report set forth in the Court’s Order dated

August 14, 2019 (the “Order”) [D.E. 3] until Discord’s pending Motion to Transfer or, in the

alternative, Dismiss Plaintiff’s Complaint (the “Motion”) [D.E. 14] has been resolved.

Alternatively, Discord, pursuant to Local Rule 3.01(i), respectfully requests this Court to enter an

Order permitting counsel to appear and participate by telephone at the case management

conference to prepare a case management report as set forth in the Court’s Order.

         In support of this Motion to Postpone, Discord states as follows:

I.       INTRODUCTION

         In its pending Motion, Discord seeks three types of relief, each of which would dispose

of the case in this District: (1) transfer based on the forum-selection clause in Discord’s Terms

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 This Motion to Postpone is made without waiver of, but rather in full preservation of, all defenses that may be
available to Discord, including, but not limited to, those set forth in the pending Motion to Transfer and/or Dismiss
[D.E. 14].

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of Service (“Terms”); (2) dismissal based on a lack of personal jurisdiction over Discord; and (3)

dismissal for failure to state a claim in light of, among other things, Discord’s federal immunity

under the Communications Decency Act, 47 U.S.C. § 230 (the “CDA”).

       Given the likelihood that this case will not proceed in this District, Discord requests that

the case management conference be postponed pending a ruling on the Motion in an effort to

conserve judicial and party resources.

II.    DISCUSSION

       A. This Court Should Exercise Its Inherent Power and Postpone the Case
          Management Conference.

       Good cause exists to postpone the case management conference pending a decision on

Discord’s Motion. It is well settled that a trial court has broad discretion and the inherent power

“to control the disposition of the causes on its docket with economy of time and effort for itself,

for counsel, and for litigants.” Landis v. N. American Co., 299 U.S. 248, 254-55 (1936); see also

Voter Verified, Inc. v. Premier Election Solutions, Inc., No. 6:09-cv-1968-Orl-19KRS; 2010 WL

1049793 (M.D. Fla. Mar. 22, 2010) (“It is well established that a district court has the inherent

authority to manage and control its own docket so as to achieve the orderly and expeditions

disposition of cases.”) (internal quotations omitted).

       Attending the case management conference and preparing a case management report as

ordered by the Court, see D.E. 3, is premature because Discord’s Motion is likely to depose of

the entire case before this Court. Indeed, the Motion raises three bases that would dispose of the

case before this Court:

               (1)     The parties agreed to litigate disputes in the Northern District of California

[D.E. 14-2, Exs. C-G.]. Alt. Marin Const. Co. v. U.S. Dist. Court for W. Dist. of Texas, 571 U.S.

49, 62 (2013) (“[w]hen the parties have agreed to a valid forum-selection clause, a district court
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should ordinarily transfer the case to the forum specified in that clause.”) (internal quotations

omitted).

                (2)     The Court lacks general and specific personal jurisdiction over Discord.

                (3)     Plaintiff failed to sufficiently plead his claims and the deficiencies

contained therein are incurable, particularly in light of the CDA, which immunizes service

providers from liability for allowing content or choosing not to remove content from their

services, as well as the express Terms agreed to by Plaintiff.

        Accordingly, good cause exists to postpone the case management conference

requirements set forth in the Court’s Order pending a resolution of Discord’s dispositive Motion.

This relief is not sought in bad faith or for the purposes of delay, and will not prejudice any

party, but rather will preserve judicial and party resources.

        B. In the Alternative, this Court Should Permit the Parties Leave to Telephonically
           Appear at the Case Management Conference.

        To the extent the Court maintains the current schedule, Discord requests that the Court

waive the “in person” requirement for the case management conference. The Court has broad

discretion in dealing with discovery and case management issues. Patterson v. U.S. Postal

Services, 901 F.2d 927, 929 (11th Cir. 1990); see also Fischer v. Dist. Sch. Bd. of Collier

County, No. 2:10-cv-512-FtM-29SPC, 2010 WL 3522215, at *1 (M.D. Fla. Sept. 7, 2010)

(permitting parties to “meet telephonically to prepare the Case Management Report” because, in

light of the geographic distance between the parties, “[i]t would create a hardship for the parties

to meet for the Case Management Conference in person.”); Local Rule 3.01(i) (“The use of

telephonic hearings and conferences is encouraged, whenever possible, particularly when

counsel are located in different cities.”).


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       The Court’s Order requires the attorney for the parties to “conduct a case management

conference in person no later than 45 days after service or appearance of any defendant. The

Case Management Report (‘Report’) must be filed within seven days of the case

management conference.” D.E. 3 (emphasis in original). Counsel for Plaintiff, Simeon

Genadiev, maintains his regular place of business in Miami Beach, Florida. Lead counsel for

Discord, Julie E. Schwartz, maintains her regular place of business in Palo Alto, California. Co-

counsel for Discord, Beth-Ann E. Krimsky and Lawren A. Zann, maintain their regular place of

business in Fort Lauderdale, Florida.

       Here, at least one party would incur significant travel costs, and it would create a

hardship for the parties to meet in person to prepare the case management report given the

significant distance between counsel. Discord believes, and Plaintiff agrees, that appearance of

counsel by telephone at the case management conference will be the most expedient and cost-

effective method of discussing, preparing, and filing a case management report.

       Accordingly, in the alternative to postponing the case management conference, good

cause exists to permit the parties to conduct the case management conference and prepare the

case management report by telephone.

III.   CONCLUSION

       For these reasons, Discord respectfully requests that the Court postpone the case

management conference requirements set forth in its Order until after the Court rules on

Discord’s Motion. If the Court prefers the case management conference requirements to occur

as set forth in the Order, Discord respectfully requests that the Court permit the parties to waive

the “in person” requirement and permit the parties to telephonically appear at the conference to

prepare the case management report.

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       WHEREFORE, Defendant Discord, Inc. respectfully requests this Court enter an Order

postponing the case management conference requirements or, in the alternative, to permit the

parties to telephonically appear at the conference, together with such further and other relief as

this Court deems just and proper.

                              CERTIFICATE OF CONFERRAL

       Prior to filing this Motion to Postpone Case Management Conference or, in the

alternative, for leave to Telephonically Appear at Case Management Conference, the

undersigned conferred with counsel for Plaintiff in a good faith effort to resolve the issues raised

herein. Counsel for Plaintiff advised that he AGREES to the relief sought herein.


Dated: September 26, 2019                                     Respectfully submitted,

                                                                /s/ Lawren A. Zann
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on September 26, 2019, I electronically filed the foregoing

Motion to Postpone Case Management Conference or, in the alternative, for leave to

Telephonically Appear at Case Management Conference using the CM/ECF system, which

foregoing documents is also being served this date on all counsel of record via transmission of

Notices of Electronic Filing generated by CM/ECF.

                                                             /s/ Lawren A. Zann
                                                            Lawren A. Zann




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